           Case 1:10-cr-00249-JLT-BAM Document 243 Filed 10/29/14 Page 1 of 2



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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:10-cr-00249-AWI-BAM
11
                                   Plaintiff,             STIPULATION REGARDING ORDER
12                                                        OF TRIAL PROCEEDINGS; ORDER
     v.
13                                                        DATE: November 4, 2014
     EVELYN BRIGGET SANCHEZ, and                          TIME: 8:30 a.m.
14   DARLING ARLETTE MONTALVO,                            JUDGE: Hon. Anthony W. Ishii
15                                 Defendants.
16
                                                 STIPULATION
17
            The United States of America, by and through its counsel of record, and defendants, by and
18
     through their counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for jury trial on November 4, 2014.

21          2.      By this stipulation, the parties agree and stipulate as follows:
22                  a.      Jury selection and empanelment will occur as previously scheduled at 8:30
23
     a.m. on November 4, 2014.
24
                    b.      Opening statements and the presentation of evidence and witnesses will begin
25
     at 8:30 a.m. on Wednesday, November 12, 2014.
26

27          3.      The parties agree that this schedule will allow for the continuity of the presentation of

28 evidence and will allow additional time for the parties’ case preparation. The parties further agree
                                                     1
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           Case 1:10-cr-00249-JLT-BAM Document 243 Filed 10/29/14 Page 2 of 2


     that the time period between November 4, 2014 and November 12, 2014 is excluded under the
 1
     Speedy Trial Act in the interest of justice.
 2

 3          4.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 4 seq., within which trial must commence, the time period of the date of this stipulation to November

 5 12, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

 6
     3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the Court at the parties’
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     request on the basis of the Court's finding that the ends of justice served by taking such action
 8
     outweigh the best interest of the public and the defendants in a speedy trial.
 9

10 IT IS SO STIPULATED.

11 DATED:           October 29, 2014

12
                                            /s/James R. Homola
13                                          JAMES R. HOMOLA
                                            Counsel for Defendant
14                                          EVELYN BRIGGET SANCHEZ

15
     DATED:         October 29, 2014
16

17                                          /s/Eric V. Kersten    _____
                                            ERIC V. KERSTEN
18                                          Counsel for Defendant
                                            DARLING ARLETTE MONTALVO
19
20 DATED:           October 29, 2014

21
                                            /s/ Henry Z. Carbajal III
22                                          KIRK E. SHERRIFF
                                            HENRY Z. CARBAJAL III
23                                          Assistant United States Attorneys

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25 IT IS SO ORDERED.
26 Dated: October 29, 2014
                                                    SENIOR DISTRICT JUDGE
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